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FILED

MAY 24 2021
UNITED STATES DISTRICT COURT FOR THEcéR«, us. DISTRICT COURT

WESTERN DISTRICT OF TEXAS Ww RN DISTRICT OF TEXAS
SAN ANTONIO DIVISION !

   

DEPUTY CLERK

IN THE MATTER OF )
THE EXTRADITION OF Mise. NoS%:2\-MJ-0OW 0S
EVERARDO GUERRERO LUJAN

COMPLAINT FOR PROVISIONAL ARREST

WITH A VIEW TOWARDS EXTRADITION

(18 U.S.C. § 3184)
I, Priscilla Garcia, the undersigned Assistant United States Attorney, being duly sworn,

state on information and belief that the following is true and correct:
l. In this matter, I represent the United States in fulfilling its treaty obligation to Mexico.
2. There is an extradition treaty in force between the United States and Mexico, Extradition
Treaty Between the United States of America and the United Mexican States, U.S.-Mex., May 4,
1978, 31 U.S.T. 5059; Protocol to the Extradition Treaty Between the United States of America
and the United Mexican States of May 4, 1978, U.S.-Mex., Nov. 13, 1997,S. TREATY DOC.
NO 105-46 (1998) (collectively referenced hereafter as the “Treaty”’).
3: The Treaty provides in article 11 for the provisional arrest and detention of alleged
fugitives pending the submission of a formal request for extradition and supporting documents.
4. In accordance with article 11 of the Treaty, the Government of Mexico has asked the
United States for the provisional arrest of EVERARDO GUERRERO LUJAN “(GUERRERO

LUJAN”) with a view towards his extradition.

5. According to the information provided by the Government of Mexico, GUERRERO
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LUJAN was charged with two offenses: Aggravated Homicide, in violation of Articles 293, 299,
and 301 Section I, and Aggravated Theft, in violation of Articles 317, 320 Section IV, and 321
Sections I, IV, and VII of the Criminal Code for the State of Zacatecas.

6. These offenses were committed within the jurisdiction of Mexico. A warrant for
GUERRERO LUJAN’s arrest was issued on March 6, 2015, by a Judge from the Judicial District
of Jerez de Garcia Salinas, Zacatecas, Mexico.

7. The warrant was issued on the basis of the following facts:

During the afternoon of July 28, 2010, GUERRERO LUJAN, Juan Carlos Guerrero
Barrientos (“Guerrero Barrientos”), Juan Manuel Garcia Perez (“Garcia Perez”), and Luis
Manuel Venegas Garcia (“Venegas Garcia”), gathered together to drink alcohol at various bars.
After a few hours, the group ended up in a rural road walking towards a nearby town. Someone
in the group suggested that they find a vehicle to take them to town instead of continuing on foot.
The group approached a house where they saw a truck and a tractor. Rogelio Perez Rodriguez
(“Perez Rodriguez”), who lived at this house, came outside. The group asked Perez Rodriguez to
drive them to town. He refused. claiming that he did not have keys to the vehicles, and the
vehicles did not have gasoline. Refusing to accept this answer, the group, including
GUERRERO LUJAN, started to beat Perez Rodriguez. According to the investigation, Perez
Rodriguez suffered injuries from trauma. The investigation also reveals that Perez Rodriguez
was punched and hit with tools, including a shovel and an axe, that were found around the house.
After killing Perez Rodriguez, GUERRERO LUJAN and Garcia Perez found the keys to the
vehicles. GUERRERO LUJAN and the others, then placed Perez Rodriguez in the bed of the

truck and drove off with both the truck and the tractor. Authorities later found the abandoned
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vehicles on the side of the road. GUERRERO LUJAN and the others threw Perez Rodriguez’
body from the truck down a hill, which is where authorities later found the body. An autopsy
report dated August 3, 2010, determined that Perez Rodriguez died from multiple trauma.
8. The offenses with which GUERRERO LUJAN is charged are provided for in article 2(1)
and Items | and 7 of its Appendix, as well as article 2(3) of the Treaty.
9. GUERRERO LUJAN may be found within the jurisdiction of this Court at 1621 S.
Callaghan Rd., San Antonio, Texas,
10. The Government of Mexico has represented that it will submit a formal request for
extradition supported by the documents specified in the Treaty, within the time required under
the Treaty.
11. GUERRERO LUJAN would be likely to flee if he learned of the existence of a warrant
for his arrest.

WHEREFORE, the undersigned requests that a warrant for the arrest of the aforenamed
person be issued in accordance with 18 U.S.C. § 3184 and the extradition treaty between the
United States and Mexico, and that this complaint and the warrant be placed under the seal of the

Court, except as disclosure is needed for its execution, until such time as the warrant is executed.

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Priscilla Garcia
Assistant United States Attorney

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Sworn to before me and subscribed in my presence thi _
Mey 2021, at_S4n Audonujo

  
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United States Magistrate Judge
